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 PEARSON, J.

                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )     CASE NO. 1:13-CR-210-2
                Plaintiff,                       )
                                                 )
                v.                               )     JUDGE BENITA Y. PEARSON
                                                 )
 DENNIS R. BOYLES, JR.,                          )
                                                 )
                Defendant.                       )     ORDER



        This matter is before the Court upon Magistrate Judge George J. Limbert’s Report and

 Recommendation (“R&R”) that the Court accept Defendant Dennis R. Boyles, Jr.’s

 (“Defendant”) pleas of guilty and enter findings of guilty against Defendant. ECF No. 17.

        On April 11, 2013, the Government filed an Indictment against Defendant alleging

 violations of 18 U.S.C. §§ 1341 and 1349, 18 U.S.C. § 1956(h), 26 U.S.C. § 7206(1), and 26

 U.S.C. § 7201, mail fraud conspiracy, money laundering conspiracy, making and subscribing a

 false return and tax evasion, respectively. ECF No. 3. Thereafter, Defendant notified the Court

 of Defendant’s intent to enter pleas of guilty, pursuant to a written plea agreement. ECF No.

 12. The Court issued an order referring the matter to Magistrate Judge Limbert for the purpose

 of receiving Defendant’s guilty pleas. ECF No. 13.

        On June 19, 2013, Magistrate Judge Limbert held a hearing during which Defendant

 consented to the order of referral (ECF No. 16) and entered guilty pleas as to Counts 1, 2 and 4

 of the Indictment. Magistrate Judge Limbert received Defendant’s guilty pleas and issued a

 Report recommending that this Court accept Defendant Dennis R. Boyles, Jr.’s pleas and enter
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 findings of guilty. ECF No. 17.

         The time limitation to file objections to the Magistrate Judge’s Report and

 Recommendation has expired and neither party has filed objections or requested an extension of

 time.

         Fed. R. Crim. P. 11(b) states:

         Before the court accepts a plea of guilty or nolo contendere, the defendant may be
         placed under oath, and the court must address the defendant personally in open
         court. During this address, the court must inform the defendant of, and determine
         that the defendant understands, the following: (A) the government’s right, in a
         prosecution for perjury or false statement, to use against the defendant any
         statement that the defendant gives under oath; (B) the right to plead not guilty, or
         having already so pleaded, to persist in that plea; (C) the right to a jury trial; (D)
         the right to be represented by counsel—and if necessary have the court appoint
         counsel—at trial and at every other stage of the proceeding; (E) the right at trial to
         confront and cross-examine ad-verse witnesses, to be protected from compelled
         self-incrimination, to testify and present evidence, and to com-pel the attendance
         of witnesses; (F) the defendant’s waiver of these trial rights if the court accepts a
         plea of guilty or nolo contendere; (G) the nature of each charge to which the
         defendant is pleading; (H) any maximum possible penalty, including
         imprisonment, fine, and term of supervised release; (I) any mandatory minimum
         penalty; (J) any applicable forfeiture; (K) the court’s authority to order restitution;
         (L) the court’s obligation to impose a special assessment; (M) in determining a
         sentence, the court’s obligation to calculate the applicable sentencing-guideline
         range and to consider that range, possible departures under the Sentencing
         Guidelines, and other sentencing factors under 18 U.S.C. §3553(a); and (N) the
         terms of any plea-agreement provision waiving the right to appeal or to
         collaterally attack the sentence.

         The undersigned has reviewed the transcript and the Magistrate Judge’s R&R and finds,

 that in his careful and thorough proceeding, Magistrate Judge Limbert satisfied the requirements

 of Fed. R. Crim. P. 11 and the United States Constitution. Defendant was placed under oath and

 determined to be competent to enter pleas of guilty. Defendant was made aware of the charges

 and consequences of conviction and his rights and waiver thereof. Magistrate Judge Limbert also
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 correctly determined that Defendant had consented to proceed before the magistrate judge and

 tendered his pleas of guilty knowingly, intelligently and voluntarily. Furthermore, the magistrate

 judge also correctly found that there was an adequate factual basis for the pleas.

        Upon de novo review of the record, the Report and Recommendation is adopted.

 Therefore, Defendant Dennis R. Boyles, Jr. is adjudged guilty of Counts 1, 2 and 4 of the

 Indictment, mail fraud conspiracy, money laundering conspiracy and tax evasion, in violation of

 18 U.S.C. §§ 1341 and 1349, 18 U.S.C. § 1956(h), and 26 U.S.C. § 7201, respectively.



        IT IS SO ORDERED.


  July 17, 2013                                s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge
